Case 4:22-cr-00162-ALM-BD   Document 452-1   Filed 05/19/25   Page 1 of 4 PageID #:
                                     4282




                            EXHIBIT A
Case 4:22-cr-00162-ALM-BD   Document 452-1 Filed 05/19/25 Page 2 of 4 PageID #:
                              Government's
                                     4283   Case, Volume 2                      214



      1   plays out, because the facts are the facts in terms of

      2   transfers happening.       Whether it was a violation of a bond

      3   condition seems irrelevant in some ways to me.             I

      4   understand your point, but -- but I will think about it and

      5   see if I can find any -- you know, since you can't find any

      6   case law, we'll see if my trustee staff can but --

      7             MS. BROOKS:     Perfect.     Thank you.

      8             One other issue that's not to that.           Repeatedly so

      9   far, in the opening and also in the form of some of the

     10   questions, there has been an insinuation of essentially a

     11   constructive amendment to the Indictment and that the

     12   Government has taken an opposite position of what's in the

     13   Superseding Indictment.

     14             That is not only not factually accurate, it's

     15   actually not legally accurate as far as what the

     16   requirement is on pleading and proving the conspiracy.              And

     17   we think that that's misleading at best and it's incorrect.

     18   And so we would ask for a limine on that, that the

     19   insinuation to the jury is that we have not -- we're

     20   presenting a theory or presenting a case that is

     21   inconsistent with the Indictment.

     22             Now, certainly they can probe that in a way of

     23   their argument --

     24             THE COURT:     Ms. Brooks, I mean, first of all, the

     25   Court has not entertained their argument on this.              I



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Case 4:22-cr-00162-ALM-BD   Document 452-1 Filed 05/19/25 Page 3 of 4 PageID #:
                              Government's
                                     4284   Case, Volume 2                      215



      1   disagree with their argument.         I think the Indictment is

      2   broad enough.

      3             The Indictment is the Indictment.            So their

      4   argument is the Indictment restricts to this certain fee.

      5   Your argument is the Indictment is broader than that.              I

      6   think you're right, but there is nothing wrong with them

      7   making that argument.       I mean --

      8             MS. BROOKS:     Then we will continue to object as --

      9   just as needed based on the way that it is framed because I

     10   think it's a direct attempt to mislead this jury --

     11             THE COURT:     Well --

     12             MS. BROOKS:     -- as to what the legal requirements

     13   are in pleading and proving this case.

     14             THE COURT:     I understand, and there may be valid

     15   objections based on what they decide to -- how they do it.

     16   But in terms of a factual dispute and then asserting that

     17   the Indictment doesn't -- isn't as broad as you are

     18   asserting, that's their argument.          The jury is going to

     19   have the Indictment.       They are going to be able to read it

     20   themselves and determine is it limited to that or not.

     21   That's not a legal decision for the Court to make; that's a

     22   jury decision.

     23             MS. BROOKS:     To the extent that that continues to

     24   be an issue, would it be improper, then, to point directly

     25   to where that's shown in the Indictment for the jury,



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Case 4:22-cr-00162-ALM-BD   Document 452-1 Filed 05/19/25 Page 4 of 4 PageID #:
                              Government's
                                     4285   Case, Volume 2                      216



      1   because they're not going to get the Indictment until the

      2   end, and they've been watered down for three weeks with

      3   this claim that's not accurate?

      4             Is that -- would that be a possible remedy as far

      5   as in the form of our questions?

      6             THE COURT:     Well, I can't say.       I mean --

      7             MS. BROOKS:     Okay.

      8             THE COURT:     We'll have to wait and -- you're

      9   giving me hypotheticals.         We'll have to wait and see how

     10   the evidence comes in -- or what they do on their

     11   questioning.

     12             MS. BROOKS:     All right.     Thank you.

     13             THE COURT:     Okay.    Anything else?

     14             MR. CLINE:     Your Honor, as long as we're pausing

     15   here, let me raise one thing.         I apologize.

     16             Are you able to hear me?

     17             THE COURT:     I can now, yes.      Well, I could hear

     18   you before, but my court reporter needs it to go through

     19   the sound system.

     20             MR. CLINE:     Yesterday in questioning Agent Rennie,

     21   according to my notes -- and if I got it wrong, I'm sure

     22   I'll be corrected -- he was asked where did this case

     23   begin, and he said it began in Virginia and now it's being

     24   prosecuted here.

     25             And then he was asked, as I recall it, "Is it



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